                  Case 4:21-cv-07250-HSG Document 26 Filed 10/13/21 Page 1 of 3



 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     Unlockd Media, Inc. Liquidation Trust
                                                     )   Case No: 4:21-cv-07250-HSG
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF
             v.
                                                     )   ATTORNEY PRO HAC VICE;
 6   Google LLC, et al.                              )   ORDER
                                                     )   (CIVIL LOCAL RULE 11-3)
 7                                                   )
                                     Defendant(s).
                                                     )
 8
         I, Keith R. Hummel                       , an active member in good standing of the bar of
 9    New York                     , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Plaintiff                                    in the
                                                                Christopher Sullivan
     above-entitled action. My local co-counsel in this case is __________________________________,     an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      Cravath, Swaine & Moore LLP, 825 Eighth Ave. Diamond McCarthy LLP, 150 California St.,
14    New York, NY 10019                           Suite 2200, San Francisco, CA 94111
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (212) 474-1772                                      (415) 692-5201
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    khummel@cravath.com                                 csullivan@diamondmccarthy.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 2430668      .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 10/04/21                                               /s/ Keith R. Hummel
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Keith R. Hummel                            is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: 10/13/2021
                                                               UNITED STATES DISTRICT JUDGE October 2012

     PRO HAC VICE APPLICATION & ORDER
     Case 4:21-cv-07250-HSG Document 26 Filed 10/13/21 Page 2 of 3




           Appellate Division of the Supreme Court
                    of the State of New York
                  Second Judicial Department


     I, Maria T. Fasulo, Acting Clerk of the Appellate Division of
the Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                    Keith Richard Hummel
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on November 13,
1991, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the
Administration Office of the Courts, and according to the records
of this Court is currently in good standing as an Attorney and
Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of Brooklyn on
                            September 27, 2021.




                                 Acting Clerk of the Court


CertID-00033359
          Case 4:21-cv-07250-HSG Document 26 Filed 10/13/21 Page 3 of 3

                                     Appellate Division
                            Supreme Court of the State of New York
                                 Second Judicial Department
                                      45 Monroe Place
                                   Brooklyn, N.Y. 11201
                                         (718) 875-1300
 HECTOR D. LASALLE                                                      DARRELL M. JOSEPH
    PRESIDING JUSTICE                                                        DEPUTY CLERKS

  MARIA T. FASULO                                                         KENNETH BAND
ACTING CLERK OF THE COURT                                               MELISSA KRAKOWSKI
                                                                          WENDY STYNES
                                                                        ASSOCIATE DEPUTY CLERKS
                                                                             January 7, 2005

To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


         New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


         Instructions, forms and links are available on this Court's website.




                                                   Maria T. Fasulo
                                                   Acting Clerk of the Court




Revised August 2021
